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 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11                                         Case No.
     JAMES RUTHERFORD, an
12                                         Complaint For Damages And
13   individual,                           Injunctive Relief For:

14                   Plaintiff,             1. VIOLATIONS OF THE
15                                             AMERICANS WITH DISABILITIES
     v.                                        ACT OF 1990, 42 U.S.C. §12181 et
16                                             seq. as amended by the ADA
17                                             Amendments Act of 2008 (P.L. 110-
     MACHO POLLO INC., a California
                                               325).
18   corporation; ESTHER ZIYOUN
     KIM, individually and as trustee of
19                                          2. VIOLATIONS OF THE UNRUH
     THE ESTHER ZIYOUN KIM
                                               CIVIL RIGHTS ACT, CALIFORNIA
20   LIVING TRUST, U/A DATED
                                               CIVIL CODE § 51 et seq.
     JUNE 18, 2019; and DOES 1-10,
21   inclusive,
22

23
                    Defendants.

24

25         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
26   Defendants MACHO POLLO INC., a California corporation; ESTHER ZIYOUN
27   KIM, individually and as trustee of THE ESTHER ZIYOUN KIM LIVING TRUST,
28   U/A DATED JUNE 18, 2019; and Does 1-10 (“Defendants”) and alleges as follows:
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                                        COMPLAINT
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 1                                           PARTIES
 2          1.     Plaintiff is substantially limited in performing one or more major life
 3   activities, including but not limited to: walking, standing, ambulating, sitting; in
 4   addition to twisting, turning and grasping objects. As a result of these disabilities,
 5   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 6   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 7   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 8   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 9   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
10   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
11   suffered from a “qualified disability” under the ADA, including those set forth in
12   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
13          2.     Plaintiff is informed and believes and thereon alleges that Defendant
14   ESTHER ZIYOUN KIM, individually and as trustee of THE ESTHER ZIYOUN
15   KIM LIVING TRUST, U/A DATED JUNE 18, 2019, owned the property located at
16   1245 E Holt Ave., Pomona, CA 91767 (“Property”) on or around October 13, 2020
17   upon which El Macho Pollo (Pollo A La Parrilla) (“Business”) is located.
18          3.     Plaintiff is informed and believes and thereon alleges that Defendant
19   ESTHER ZIYOUN KIM, individually and as trustee of THE ESTHER ZIYOUN
20   KIM LIVING TRUST, U/A DATED JUNE 18, 2019, currently owns the Property.
21          4.     Plaintiff is informed and believes and thereon alleges that Defendant
22   MACHO POLLO INC., a California corporation, owned, operated, and controlled
23   the Business located at the Property on October 13, 2020.
24          5.     Plaintiff is informed and believes and thereon alleges that Defendant
25   MACHO POLLO INC., a California corporation, owns, operates, and controls the
26   Business located at the Property currently.
27          6.     The Business is a restaurant open to the public, which is a “place of
28   public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
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                                             COMPLAINT
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 1          7.     Plaintiff does not know the true name of DOE Defendants, that may be
 2   related to the Business and/or Property. Plaintiff is informed and believes that each
 3   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
 4   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
 5   the true names, capacities, connections, and responsibilities of the Defendants and
 6   Does 1 through 10, inclusive, are ascertained.
 7                               JURISDICTION AND VENUE
 8          8.     This Court has subject matter jurisdiction over this action pursuant
 9   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
10          9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
11   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
12   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
13   federal ADA claims in that they have the same nucleus of operative facts and
14   arising out of the same transactions, they form part of the same case or controversy
15   under Article III of the United States Constitution.
16          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
17   real property which is the subject of this action is located in this district and because
18   Plaintiff's causes of action arose in this district.
19                                FACTUAL ALLEGATIONS
20          11.    Plaintiff went to the Business on or about October 13, 2020 for the dual
21   purpose of reviewing the menu and to confirm that this public place of
22   accommodation is accessible to persons with disabilities within the meaning federal
23   and state law.
24          12.    Unfortunately, although parking spaces were one of the facilities
25   reserved for patrons, there were no designated parking spaces available for persons
26   with disabilities that complied with the 2010 Americans with Disabilities Act
27   Accessibility Guidelines (“ADAAG”) on October 13, 2020.
28          13.    At that time, instead of having architectural barrier free facilities for
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                                             COMPLAINT
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 1   patrons with disabilities, Defendants’ facility has barriers that include but are not
 2   limited to: no ADASAD compliant accessible or van accessible parking signage in
 3   violation of Section 502.6; an accessible parking space serving the main entrance
 4   that appears to have a cross slopes excessive of 1:48 (where 502.4 prohibits slopes
 5   excessive of 1:48); the slope of the curb ramp that flares at the curb ramp connecting
 6   the accessible parking space to the accessible route far exceeds 10% in violation of
 7   Section 406.3 (which requires that the slope does not exceed 10%); a curb ramp
 8   slope that far exceeds 8.3% in violation of Section 405.2 (which requires a
 9   maximum slope of 8.3%); a noncompliant cross slope (Cross slope of ramp runs
10   shall not be steeper than 1:48 per 405.3); and, no accessible routes connecting the
11   parking to the main entrance or elements within the facility as required by Section
12   206.2.2 (which requires that at least one accessible route shall connect accessible
13   buildings, accessible facilities, accessible elements, and accessible spaces that are on
14   the same site, and 206.1 requiring access to the site arrival point (main entrance)
15   from the public street).
16         14.    Due to architectural barriers in violation of the ADA and ADAAG
17   specifications, the parking, paths of travel, and demarcated accessible spaces at the
18   Property are inaccessible.
19         15.    Parking spaces are one of the facilities, privileges, and advantages
20   reserved by Defendants to persons at the Property serving the Business.
21         16.    Because Defendant ESTHER ZIYOUN KIM, individually and as
22   trustee of THE ESTHER ZIYOUN KIM LIVING TRUST, U/A DATED JUNE 18,
23   2019, owns the Property, which is a place of public accommodation, they are
24   responsible for the violations of the ADA that exist in the parking area and
25   accessible routes that connect to the facility’s entrance that serve customers to the
26   Business.
27         17.    Subject to the reservation of rights to assert further violations of law
28   after a site inspection found infra, Plaintiff asserts there are additional ADA
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                                           COMPLAINT
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 1   violations which affect him personally.
 2          18.   Plaintiff is informed and believes and thereon alleges Defendants had
 3   no policy or plan in place to make sure that there was compliant accessible parking
 4   reserved for persons with disabilities prior to October 13, 2020.
 5          19.   Plaintiff is informed and believes and thereon alleges Defendants have
 6   no policy or plan in place to make sure that the designated disabled parking for
 7   persons with disabilities comport with the ADAAG.
 8          20.   Plaintiff personally encountered these barriers. The presence of these
 9   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
10   conditions at public place of accommodation and invades legally cognizable
11   interests created under the ADA.
12          21.   The conditions identified supra are necessarily related to Plaintiff’s
13   legally recognized disability in that Plaintiff is substantially limited in the major life
14   activities of walking, standing, ambulating, sitting, in addition to twisting, turning
15   and grasping objects; Plaintiff is the holder of a disabled parking placard; and
16   because the enumerated conditions relate to the use of the accessible parking, relate
17   to the slope and condition of the accessible parking and accessible route to the
18   accessible entrance, and relate to the proximity of the accessible parking to the
19   accessible entrance.
20          22.   As an individual with a mobility disability who at times relies upon a
21   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
22   accommodations have architectural barriers that impede full accessibility to those
23   accommodations by individuals with mobility impairments.
24          23.   Plaintiff is being deterred from patronizing the Business and its
25   accommodations on particular occasions, but intends to return to the Business for the
26   dual purpose of availing himself of the goods and services offered to the public and
27   to ensure that the Business ceases evading its responsibilities under federal and state
28   law.
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                                            COMPLAINT
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 1          24.      Upon being informed that the public place of accommodation has
 2   become fully and equally accessible, he will return within 45 days as a “tester” for
 3   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 4   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 5          25.      As a result of his difficulty experienced because of the inaccessible
 6   condition of the facilities of the Business, Plaintiff was denied full and equal access
 7   to the Business and Property.
 8          26.      The Defendants have failed to maintain in working and useable
 9   conditions those features required to provide ready access to persons with
10   disabilities.
11          27.      The U.S. Department of Justice has emphasized the importance of
12   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
13   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
14   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
15   Coronavirus Disease 2019 (COVID-19) found at
16   https://www.ada.gov/aag_covid_statement.pdf.
17          28.      The violations identified above are easily removed without much
18   difficulty or expense. They are the types of barriers identified by the Department of
19   Justice as presumably readily achievable to remove and, in fact, these barriers are
20   readily achievable to remove. Moreover, there are numerous alternative
21   accommodations that could be made to provide a greater level of access if complete
22   removal were not achievable.
23          29.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
24   alleges, on information and belief, that there are other violations and barriers in the
25   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
26   notice regarding the scope of this lawsuit, once he conducts a site inspection.
27   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
28   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
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                                             COMPLAINT
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 1   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 2   have all barriers that relate to his disability removed regardless of whether he
 3   personally encountered them).
 4         30.    Without injunctive relief, Plaintiff will continue to be unable to fully
 5   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 6                               FIRST CAUSE OF ACTION
 7   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 8     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 9                                        (P.L. 110-325)
10         31.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
11   above and each and every other paragraph in this Complaint necessary or helpful to
12   state this cause of action as though fully set forth herein.
13         32.    Under the ADA, it is an act of discrimination to fail to ensure that the
14   privileges, advantages, accommodations, facilities, goods, and services of any place
15   of public accommodation are offered on a full and equal basis by anyone who owns,
16   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
17   Discrimination is defined, inter alia, as follows:
18                a.     A failure to make reasonable modifications in policies, practices,
19                       or procedures, when such modifications are necessary to afford
20                       goods, services, facilities, privileges, advantages, or
21                       accommodations to individuals with disabilities, unless the
22                       accommodation would work a fundamental alteration of those
23                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
24                b.     A failure to remove architectural barriers where such removal is
25                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
26                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
27                       Appendix "D".
28                c.     A failure to make alterations in such a manner that, to the
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                                            COMPLAINT
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 1                         maximum extent feasible, the altered portions of the facility are
 2                         readily accessible to and usable by individuals with disabilities,
 3                         including individuals who use wheelchairs, or to ensure that, to
 4                         the maximum extent feasible, the path of travel to the altered area
 5                         and the bathrooms, telephones, and drinking fountains serving
 6                         the area, are readily accessible to and usable by individuals with
 7                         disabilities. 42 U.S.C. § 12183(a)(2).
 8         33.       Any business that provides parking spaces must provide accessible
 9   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
10   shall be at the same level as the parking spaces they serve. Changes in level are not
11   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
12   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
13   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
14   designated disabled parking space is a violation of the law and excess slope angle in
15   the access pathway is a violation of the law.
16         34.       A public accommodation must maintain in operable working condition
17   those features of its facilities and equipment that are required to be readily accessible
18   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
19         35.       Here, the failure to ensure that accessible facilities were available and
20   ready to be used by Plaintiff is a violation of law.
21         36.       Given its location and options, Plaintiff will continue to desire to
22   patronize the Business but he has been and will continue to be discriminated against
23   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
24   the barriers.
25                                SECOND CAUSE OF ACTION
26       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
27         37.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
28   above and each and every other paragraph in this Complaint necessary or helpful to
                                                  8
                                              COMPLAINT
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 1   state this cause of action as though fully set forth herein.
 2         38.    California Civil Code § 51 et seq. guarantees equal access for people
 3   with disabilities to the accommodations, advantages, facilities, privileges, and
 4   services of all business establishments of any kind whatsoever. Defendants are
 5   systematically violating the UCRA, Civil Code § 51 et seq.
 6         39.    Because Defendants violate Plaintiff’s rights under the ADA,
 7   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 8   52(a).) These violations are ongoing.
 9         40.    Plaintiff is informed and believes and thereon alleges that Defendants’
10   actions constitute discrimination against Plaintiff on the basis of a disability, in
11   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
12   previously put on actual or constructive notice that the Business is inaccessible to
13   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
14   inaccessible form, and Defendants have failed to take actions to correct these
15   barriers.
16                                          PRAYER
17   WHEREFORE, Plaintiff prays that this court award damages provide relief as
18   follows:
19         1.     A preliminary and permanent injunction enjoining Defendants from
20   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
21   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
22   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
23   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
24   under the Disabled Persons Act (Cal. C.C. §54) at all.
25         2.     An award of actual damages and statutory damages of not less than
26   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
27         3.     An additional award of $4,000.00 as deterrence damages for each
28   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
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                                            COMPLAINT
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 1    LEXIS 150740 (USDC Cal, E.D. 2016); and,
 2          4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 3    pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 4

 5                                DEMAND FOR JURY TRIAL
 6          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 7    raised in this Complaint.
 8

 9    Dated: January 15, 2021                MANNING LAW, APC
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11                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
12                                        Attorney for Plaintiff
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